
USCA1 Opinion

	










          September 26, 1995
                                [NOT FOR PUBLICATION]
                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT





                                 ____________________


        No. 94-2236

                                    UNITED STATES,
                                      Appellee,

                                          v.

               JOSE ORTIZ-PEREZ A/K/A JOSE PEREZ, A/K/A JOHNNY RENDON,
                                  A/K/A MARIO LOPEZ
                                Defendant, Appellant.


                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF RHODE ISLAND


                       [Hon. Mary M. Lisi, U.S. District Judge]
                                           ___________________

                                 ____________________

                                        Before

                                Selya, Stahl and Lynch,
                                   Circuit Judges.
                                   ______________

                                 ____________________

            Ralph J. Perrotta on brief for appellant.
            _________________
            Sheldon Whitehouse, United State Attorney, Margaret E. Curran  and
            __________________                         __________________
        Michael P. Iannotti, Assistant United  States Attorneys, on brief  for
        ___________________
        appellee.


                                 ____________________

                                 ____________________


















                 Per Curiam.  On May 4,  1994, appellant Jose Ortiz-Perez
                 __________

            was  indicted on one  count of reentering  the United States,

            after   having  been   deported,   without  having   obtained

            permission to reenter from the Attorney General, in violation

            of 8 U.S.C.   1326.  On June 6, 1994, he moved to dismiss the

            indictment.  While Ortiz-Perez  concedes that his reentry was

            illegal, he claims that  the government misled him concerning

            his  right to reenter  and therefore should  be estopped from

            prosecuting him  for his illegal  reentry.  After  the motion

            was  denied, Ortiz-Perez  entered  an unconditional  plea  of

            guilty.  He  now appeals the denial by the  district court of

            his motion to dismiss.

                 This court has held  "with monotonous regularity that an

            unconditional guilty plea effectuates a waiver of any and all

            independent  non-jurisdictional lapses  that may  have marred

            the  case's progress up to  that point, thereby absolving any

            errors in  the trial  court's antecedent rulings  (other than

            errors that  implicate the  court's  jurisdiction)."   United
                                                                   ______

            States  v.  Cordero,  42  F.3d  697,   699  (1st  Cir.  1994)
            ______      _______

            (citations omitted).   A claim of estoppel is  an affirmative

            defense, not a  challenge to the court's  jurisdiction.  Fed.

            R.  Civ. P.  8(c).  Therefore,  by entering  an unconditional

























            plea of guilty,  Ortiz-Perez has waived  any right to  appeal

            thedistrictcourt'sdenial ofhismotiontodismiss theindictment.1

                 The  government's  motion   for  summary  affirmance  is

            granted.  See 1st Cir. R. 27.1.
            _______   ___








































                                
            ____________________

            1.  Even if appellant's  claim had not been waived,  we would
            find it to be without merit.

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